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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

Case No. 19-mj-00246-NYW

UNITED STATES OF AMERICA,

       Plaintiff,

v.


RICHARD HOLZER,

      Defendant.
____________________________________________________________________________

                            ORDER OF DETENTION
____________________________________________________________________________

        THIS MATTER came before the Court for a detention hearing on November 8, 2019.
Present were the following: David Tonini, Assistant United States Attorney; Mary Butterton and
Natalie Stricklin, Assistant Federal Public Defenders, counsel for the defendant; and the defendant.
The Court reviewed the Pretrial Services Report and considered the comments of counsel.

        The Court has concluded that no condition or combination of conditions of release will
reasonably assure the appearance of the defendant and the safety of the community, based upon
the attached findings.

       IT IS HEREBY ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal; and

       IT IS FURTHER ORDERED that the defendant is to be afforded a reasonable opportunity
to consult confidentially with defense counsel; and

        IT IS FURTHER ORDERED that upon order of this Court or on request of an attorney for
the United States of America, the person in charge of the corrections facility shall deliver defendant
to the United States Marshal for the purposes of an appearance in connection with this proceeding.

       DATED and ENTERED this 8th day of November, 2019.

                                                              BY THE COURT:

                                                              s/ Kristen L. Mix
                                                              U.S. Magistrate Judge
                                                              Kristen L. Mix
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

Case No. 19-mj-00246-NYW

UNITED STATES OF AMERICA,

       Plaintiff,

v.

RICHARD HOLZER,

      Defendant.
____________________________________________________________________________

           FINDINGS OF FACT, CONCLUSION OF LAW and REASONS FOR
                            ORDER OF DETENTION
____________________________________________________________________________

       THIS MATTER came before the Court for a detention hearing on November 8, 2019. The
Court has taken judicial notice of the Pretrial Services Report and considered the comments of
counsel.

       In order to sustain a motion for detention, the government must establish that (a) there is
no condition or combination of conditions which could be imposed in connection with pretrial
release that would reasonably insure the defendant’s presence for court proceedings; or (b) there
is no condition or combination of conditions which could be imposed in connection with pretrial
release that would reasonably insure the safety of any other person or the community. The former
element must be established by a preponderance of the evidence, while the latter requires proof
by clear and convincing evidence.

        The Bail Reform Act, 18 U.S.C. § 3142(g), directs the Court to consider the following factors
in determining whether there are conditions of release that reasonably assure the appearance of
the defendant as required and the safety of any other person and the community:

       (1)      [t]he nature and circumstances of the offense charged, including whether the
                offense is a crime of violence or involves a narcotic drug;

       (2)      the weight of the evidence against the person;

       (3)      the history and characteristics of the person, including –

                (A)    the person’s character, physical and mental condition, family ties,
                       employment, financial resources, length of residence in the community,
                       community ties, past conduct, history relating to drug or alcohol abuse,
                       criminal history, and record concerning appearance at court proceedings;
                       and

                (B)    whether at the time of the current offense or arrest, the person was on
                       probation, on parole, or on other release pending trial, sentencing, appeal,
                       or completion of sentence for an offense under Federal, State or local law;
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                        and

        (4)     the nature and seriousness of the danger to any person or the community that would
                be posed by the person’s release.

         In making my findings of fact, I have taken judicial notice of the information set forth in the
entire court file and have considered the comments of counsel. Weighing the statutory factors set
forth in the Bail Reform Act, I find the following:

       First, the defendant has been charged with violating 18 U.S.C. § 247 (a)(2) and (d)(3),
attempt to obstruct persons in the enjoyment of their free exercise of religious beliefs, through force
and the attempted use of explosives and fire.

        Second, the defendant is not contesting detention.

        After considering all of the factors set forth in the Bail Reform Act and the offenses charged
in this case, I find, by a preponderance of the evidence, that no condition or combination of
conditions of release will reasonably assure the appearance of the defendant. In support of that
finding, I note the factors listed above, as well as the lengthy sentence that could be imposed if the
defendant is found guilty of the charged offense.

        DATED and ENTERED this 8th day of November, 2019.

                                                                BY THE COURT:

                                                                s/ Kristen L. Mix
                                                                U.S. Magistrate Judge
                                                                Kristen L. Mix
